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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


 SOUTHERN POVERTY LAW CENTER,
 Plaintiff,                                             No. 1:18-cv-00760-CKK (RMM)

 v.
 U.S. DEPARTMENT OF HOMELAND
 SECURITY, et al.,

 Defendants.




                                    JOINT STATUS REPORT

       In accordance with the Court’s February 2, 2022 Memorandum Opinion and Order (ECF

185), the parties jointly report to the Court as follows:

       On February 15, 2022, the parties met and conferred regarding their proposed candidates

to serve as Special Monitor. The parties did not reach agreement on any candidates to serve in that

role, and therefore are proposing one contested candidate each.

                                        Plaintiff’s Position

       Plaintiff proposes Gregory L. Pleasants as an “expert[] in civil detention” who “would

adequately serve as a Special Monitor” in this case. ECF 185 at 7; see also Gregory L. Pleasants

Curriculum Vitae, Ex. A. Mr. Pleasants holds both Juris Doctor and Master of Social Work

degrees. He has extensive experience specific to immigration detention and access to counsel.

Notably, Mr. Pleasants served as the Program Director for the National Qualified Representative

Program (“NQRP”) at the Vera Center on Immigration and Justice. This nationwide program

provides legal representation to detained individuals facing deportation who also have serious
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mental health conditions. In this role, Mr. Pleasants gained familiarity with multiple immigration

detention facilities across the country, including their policies and practices related to attorney-

client communication. Mr. Pleasants served as NQRP Director during the beginning months of the

COVID-19 pandemic, providing him with first-hand knowledge of its impact on access to counsel

in the immigration detention setting. Mr. Pleasants previously worked at the Executive Office for

Immigration Review as a Contract Management Analyst to create, develop, and implement the

NQRP. In that capacity, he trained immigration judges, immigration court staff, and law

enforcement officers. In addition, Mr. Pleasants has visited immigration detention centers as an

attorney for detained individuals. To Plaintiff’s knowledge, Mr. Pleasants has no policy

motivations, financial interests, or separate medical opinions that would affect his ability to

objectively evaluate Defendants’ compliance with the Court’s Temporary Restraining Order

(“TRO”) (ECF 123). Mr. Pleasants’ broad range of experience in the specific context of civil

immigration detention and access to counsel, including working with detained immigrants, with

the federal government, and with the Vera Institute, a government contractor make him an expert

in civil detention who would fairly and adequately monitor Defendants’ compliance with the TRO

(ECF No. 123).

                                      Defendants’ Position

       Dr. David L. Thomas, MD, JD, EdD, is both a lawyer and physician who has extensive

experience as an “expert[] in civil detention,” and would be an ideal Special Monitor, minding

that the Court’s TRO was issued “against the backdrop of COVID-19 and the circumstances

surrounding it.” ECF No. 124 at 62. Dr. Thomas is best suited to serve as an impartial Special

Monitor because he possesses both legal expertise and medical knowledge, in addition to

considerable experience working in detention settings. As the former Chairman and Professor of



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the Division of Correctional Medicine at the Nova Southeastern College of Osteopathic

Medicine for over a decade, Dr. Thomas is familiar with the best practices for disease prevention

and anti-transmission in correctional settings. His real-world experience includes years of

medical practice and civil and criminal detention management within the Florida Department of

Corrections. As such, he is well versed in Centers for Disease Control and Prevention guidance

for correctional facilities, federal and state guidelines, the Performance Based National Detention

Standards, and accreditation standards used by the American Correctional Association. Dr.

Thomas has served as an expert for plaintiffs and defendants alike – including in high-profile

“conditions” cases such as Ruiz v. Estelle, No. 4:78-cv-00987 (S.D. Tex.) (class action on behalf

of more than 33,000 inmates confined by the Texas Department of Corrections challenging the

conditions of their confinement under the Eighth & Fourteenth Amendments) and Plata v.

Brown, No. 4:01-cv-01351 (N.D. Cal.) & Coleman v. Brown, No. 2:90-cv-00520 (E.D. Cal.)

(three judge panel, class-action cases brought by medically and mentally troubled inmates

challenging the constitutionality of conditions of confinement in Californian facilities). Dr.

Thomas has not—to counsel’s knowledge and research—been retained as a defense expert for

the Department of Homeland Security or, more specifically, for U.S. Immigration and Customs

Enforcement previously, and has testified as an expert both for and against CoreCivic in the past.

E.g., Warrick v. Walker, et al., No. 3:04-cv-00221 (M.D. Tenn.) (for plaintiff); Kemper v.

Nienhuis, No. 8:11-cv-00732 (M.D. Fla.) (for defense). On information and belief, Dr. Thomas

has no policy motivations or financial interests that would affect his independence and

objectivity in evaluating Defendants’ compliance with the Court’s order, ECF No. 123. In

sum, Dr. Thomas has demonstrable neutrality, professionalism, and relevant subject matter




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expertise necessary to serve as a special monitor in this matter. His Curriculum Vitae with an

abbreviated list of casework are included for the Court’s consideration.




DATED: February 16, 2022                             Respectfully Submitted,

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                               CERTIFICATE OF SERVICE

       I hereby certify that on February 16, 2022, I served a copy of the foregoing upon all

counsel of record via the Court’s CM/ECF filing system.


                                                    /s/ David J. Byerley
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